      Case 1:22-cr-00015-APM            Document 614    Filed 06/09/23      Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :     Case No. 22-CR-15 (APM)
                                            :
ELMER STEWART RHODES, III,                  :
et al.                                      :
                                            :
                       Defendants.          :

                               NOTICE OF WITHDRAWAL

       The government informs the Court that Assisant United States Attorney Ahmed M.

Baset, as counsel for the United States, is terminating his appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will

remain counsel for the United States.



                                                  Respectfully submitted,


                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  DC Bar No. 481052



                                            By:   /s/ Ahmed M. Baset
                                                   AHMED M. BASET
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   for the District of Columbia
                                                   601 D Street, N.W.
                                                   Washington, DC 20530
      Case 1:22-cr-00015-APM          Document 614        Filed 06/09/23     Page 2 of 2




                               CERTIFICATE OF SERVICE

       On this 9th day of June 2023, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                                     /s/ Ahmed M. Baset
                                                     Ahmed M. Baset
                                                     Assistant United States Attorney
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